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3
     Attorney for Defendant,
4    Michael Bolden
5
                                  UNITED STATES DISTRICT COURT
6
                           FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                                      ) Case No. CR-S-11-0054 GEB
     UNITED STATES OF AMERICA,                         )
9                                                      ) STIPULATION AND ORDER EXTENDING
                     Plaintiff,                        ) TIME TO FILE RELEASE DOCUMENTS
10                                                     )
            vs.                                        )
11                                                     )
     MICHAEL BOLDEN,                                   )
12                                                     )
                     Defendant.                        )
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14
            On September 19, 2011, Mr. Bolden was ordered released on a $150,000 bond partially
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     secured by two pieces of real property. One of the properties is located in Sacramento,
16
     California, and the other in Virginia Beach, Virginia. Counsel has ordered the Policy of
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     Insurance for Recorded Title (PIRT) for the Sacramento property and is arranging for a title
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19   search, title insurance, and appraisal for the Virginia property through Fidelity Title in Virginia

20   Beach. In part because the property is out of state, counsel requests additional time to complete

21   the release bond documents. Counsel was preparing for trial in United States v. Conner (10-
22
     0036) until the defendant unexpectedly pled guilty before jury selection on October 4. Counsel is
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     now preparing for a state court murder trial to begin in November. Counsel requests that the time
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     to file the release bond documents be extended to October 31, 2011. AUSA Matthew Segal
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     stipulates that time be extended to October 31.
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     DATED: October 10, 2011                              /s/ Timothy E. Warriner, Attorney for
1                                                         defendant, Michael Bolden
2
     DATED: October 10, 2011                              /s/ Matthew D. Segal, Assistant U.S.
3                                                         Attorney

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                                                  ORDER
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            Pursuant to the stipulation of the parties, the defense shall have until October 31, 2011 in
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7    which to file release bond documents in accordance with the release order.

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     DATED:   October 12, 2011
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